Case 20-62169-lrc       Doc 44Filed 05/19/20 Entered 05/19/20 15:25:02               Desc Main
                              Document     Page 1 of 17 COURT
                         UNITED STATES BANKRUPTCY
                          NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                               Case No.:

         n?q / -44,40-idA/                           Judge:             L,ee
         avixoe-A/                                   Chapter:

            Debtor(s)

                                       AMENDMENT



             /1/1
               ,77 ee'r                      717W-AiLdi--70

                    A edica

    A4                                              cApter




Dated:            2/11           Signature(s):



                                 Printed Name(s):   .//che                          ro-i Rd.
                                                       04-       7ayS oor t     /c_A4 e—/
                                 Address:
                                                          &2Y5          ,917
                                                              Peca-rzeo--           -3100
                                 Phone:                 -7-7e      ‘7,6        CS
                Case 20-62169-lrc                     Doc 44      Filed 05/19/20 Entered 05/19/20 15:25:02                                       Desc Main
                                                                  Document     Page 2 of 17
Fill in this information to identify your case and this filing:


Debtor 1          CYNTHIA ANDERSON -GRAYSON
                    First Name                  Middle Name               Last Name

Debtor 2
(Spouse, if filing) First Name                  Middle Name               Last Name                                  „:1   r)!„1
                                                                                                                 I
United States Bankruptcy Court for the: Northern District of Georgia
                                                                                        r,
Case number         20-62169-IRC
                                                                                                                                                    10   Check if this is an
                                                                                                                                                         amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    El No. Go to Part 2.
    0    Yes. Where is the property?
                                                                   What is the property? Check all that apply.                Do not deduct secured claims or exemptions. Put
                                                                        Single-family home                                    the amount Of any secured claims on Schedule D:
      1.1.                                                                                                                    Creditors Who Have Claims Secured by Property.
                                                                        Duplex or multi-unit building
             Street address, if available, or other description
                                                                        Condominium or cooperative                            Current value of the       Current value of the
                                                                        Manufactured or mobile home                           entire property?           portion you own?
                                                                        Land
                                                                        Investment property
                                                                        Timeshare                                             Describe the nature of your ownership
             City                            State     ZIP Code                                                               interest (such as fee simple, tenancy by
                                                                        Other
                                                                                                                              the entireties, or a life estate), if known.
                                                                   Who has an interest in the property? Check one.
                                                                       Debtor 1 only
             County                                                0 Debtor 2 only
                                                                   CI Debtor 1 and Debtor 2 only                              0    Check if this is community property
                                                                                                                                   (see instructions)
                                                                   0 At least one of the debtors and another
                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:
    If you own or have more than one, list here:
                                                                  What is the property? Check all that apply.
                                                                                                                             'Do not deduct secured olas-ns or exemptions. Put
                                                                  CI   Single-family home                                     the amount of    secured claims on Schedule D:
      1.2.                                                                                                                    Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description
                                                                  CI   Duplex or multi-unit building                                                                              ,
                                                                  O Condominium or cooperative                                Current value of the       Current value of the
                                                                  O Manufactured or mobile home                               entire properly?           portion you own?
                                                                  O Land
                                                                  O Investment property
                                                                  O Timeshare
                                                                                                                              Describe the nature of your ownership
             City                            State     ZIP Code                                                               interest (such as fee simple, tenancy by
                                                                  O    Other                                                  the entireties, or a life estate), if known.
                                                                  Who has an interest in the property? Check one.
                                                                  0 Debtor 1 only
             County                                               0 Debtor 2 only
                                                                  0 Debtor 1 and Debtor 2 only                                CI Check if this is community property
                                                                  Cl At least one of the debtors and another                       (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:
                                                                                                                                                                                 .r

Official Form 106A/B                                              Schedule A/B: Property                                                                        page 1
                Case 20-62169-lrc                      Doc 44           Filed 05/19/20 Entered 05/19/20 15:25:02 Desc Main
   Debtor 1       CYNTHIA ANDERSON -GRAYSONDocument                                            17number (if known) 20-62169-IRC
                                                                                     Page 3 ofCase
                     First Name     Middle Name            Last Name




                                                                       What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                       O Single-family home                              the amount of any secured 'claims on Schedule D:
       1.3.                                                                                                              Creditors Who Have Claims Secured by Property. 1
              Street address, if available, or other description       O Duplex or multi-unit building                                                                 ,„-
                                                                       O Condominium or cooperative                      Current value of the Current value of the
                                                                                                                         entire property?           portion you own?       I
                                                                       O   Manufactured or mobile home
                                                                       O Land
                                                                       O Investment property
              City                            State     ZIP Code       0   Timeshare                                     Describe the nature of your ownership
                                                                                                                         interest (such as fee simple, tenancy by
                                                                       O   Other                                         the entireties, or a life estate), if known.
                                                                       Who has an interest in the property? Check one.
                                                                       CI Debtor 1 only
              County
                                                                       0 Debtor 2 only
                                                                       0 Debtor 1 and Debtor 2 only                      U Check if this is community property
                                                                                                                           (see instructions)
                                                                       0 At least one of the debtors and another
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:


  2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part I. Write that number here.




  Part 2:       Describe Your Vehicles


  Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
  you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


I 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
     le No
     Cl   Yes


      3.1.    Make:                                                    Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put
                                                                                                                         ,the amount of any secured claims on Schedule D:
              Model:                                                   0 Debtor 1 only                                    Creditors Who Have Claims Secured by Property.
                                                                       0 Debtor 2 only                                               ,
              Year:                                                                                                       Current value of the Current value of the
                                                                       0 Debtor 1 and Debtor 2 only
              Approximate mileage:                                                                                        entire property?          portion you own?
                                                                       0 At least one of the debtors and another
              Other information:
                                                                       0 Check if this is community property (see
                                                                           instructions)



     If you own or have more than one, describe here:

              Make:                                                    Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
      3.2.
                                                                                                                         the amount of any secured claims on Schedule D;
              Model:                                                   0 Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
                                                                       0 Debtor 2 only
              Year:                                                                                                      Current value of the      Current value of the
                                                                       0 Debtor 1 and Debtor 2 only                      entire property?
              Approximate mileage:                                                                                                                 portion you own?
                                                                       0 At least one of the debtors and another
              Other information:
                                                                       0 Check if this is community property (see
                                                                           instructions)




  Official Form 106A/B                                                 Schedule A/B: Property                                                             page 2
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Debtor 1      CYNTHIA ANDERSON -GRAYSONDocument                                       17number (if known) 20-62169-IRC
                                                                            Page 4 ofCase
                First Name      Middle Name       Last Name




    3.3.   Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                the amount of any secured claims on Schedule D:
           Model:                                             0 Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
           Year:                                                                                                Current value of the
                                                              0 Debtor 1 and Debtor 2 only                                                 Current value of the I
                                                                                                                entire property?           portion you own? I
           Approximate mileage:                               0 At least one of the debtors and another
           Other information:
                                                              0 Check if this is community property (see
                                                                 instructions)


    3.4.   Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                the amount of any secured claims on Schedule D:     1
           Model:                                             CI Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
                                                              O Debtor 2 only
           Year:                                                                                                Current value of the
                                                              0 Debtor 1 and Debtor 2 only                                                 Current value of the ;
                                                                                                                entire property?           portion you own?
           Approximate mileage:                               0 At least one of the debtors and another
           Other information:
                                                              0 Check if this is community property (see
                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   RI No
   0   Yes


   4.1.    Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                the amount of any secured claims on Schedule ,
           Model:                                             CI Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
                                                              0 Debtor 2 only
           Year:
                                                              0 Debtor 1 and Debtor 2 only                      Current value of the       Current value of the
           Other information:                                 0 At least one of the debtors and another         entire property?           portion you own?


                                                              0 Check if this is community property (see
                                                                 instructions)



   If you own or have more than one, list here:

                                                              Who has an interest in the property? Check one.          .              .
   4.2.    Make:                                                                                                Do not ,deduct seCured
                                                                                                                               ,        claims or exemptions. Put
                                                                                                                the amount of any,,sacured claims on Schedule ID:
           Model:                                             CI Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
                                                              O Debtor 2 only
           Year:
                                                              O Debtor 1 and Debtor 2 only
                                                                                                                Current value of the       Current value of the I
                                                                                                                entire property?           portion you own? I
           Other information:                                 0 At least one of the debtors and another

                                                                 Check if this is community property (see
                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   you have attached for Part 2. Write that number here                                                                            4




Official Form 106A/B                                          Schedule A/B: Property                                                               page 3
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                 First Name    Middle Name         Last Name




               Describe Your Personal and Household Items

                                                                                                                                Current value of the
  Do you own or have any legal or equitable interest in any of the following items?                                             portion you own?
                                                                                                                                Do not deduct secured claims
                                                                                                                                or exemptions.
  6. Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
     • No
     O Yes. Describe           Living room, bed room, kitchen                                                                                      100.00

  7. Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
               collections; electronic devices including cell phones, cameras, media players, games
     Li No
     O Yes. Describe           Television,radio, cell phone                                                                                          75.00

, 8. Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
               stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
     O No
     O Yes. Describe


 9. Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
               and kayaks; carpentry tools; musical instruments
     O No
     • Yes. Describe


 10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     O No
     O Yes. Describe

 11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
     O No
     O Yes. Describe           Everyday clothes                                                                                                      50.00


 12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
               gold, silver
     ▪ No
     O Yes. Describe                                                                                                                                10.00
                               Everyday jewely
 13. Non-farm animals
     Examples: Dogs, cats, birds, horses

     O No
     O Yes. Describe


 14. Any other personal and household items you did not already list, including any health aids you did not list

     la No
     O Yes. Give specific
        information.

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                    230.00
     for Part 3. Write that number here                                                                                     4

  Official Form 106A/E3                                        Schedule A/B: Property                                                        page 4
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Debtor 1       CYNTHIA ANDERSON -GRAYSONDocument                           Page 6 ofCase
                                                                                     17 number             (11 known)
                                                                                                                        20-62169-IRC

                First Name   Middle Name          Last Name




Part 4:       Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                            Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured claims
                                                                                                                                       or exemptions,

16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   •     No
   O Yes                                                                                                     Cash:                                         0.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other similar institutions. If you have multiple accounts with the same institution, list each.

   10 No
   O Yes                                                      Institution name:


                             17.1. Checking account:

                             17.2. Checking account:

                             17.3. Savings account:

                             17.4. Savings account:

                             17.5. Certificates of deposit:

                             17.6. Other financial account:

                             17.7. Other financial account:

                             17.8. Other financial account:

                             17.9. Other financial account:




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts

   •     No
   O Yes                     Institution or issuer name:




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture

   El No                     Name of entity:                                                                  % of ownership:
   0 Yes. Give specific                                                                                        0%             %          $
       - information about
         them                                                                                                  0%             %          $
                                                                                                               0%             %          $




 Official Form 106A/B                                         Schedule NB: Property                                                                  page 5
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               First Name     Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   lE1 No
   0 Yes. Give specific       Issuer name:
        information about
        them




21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

        No
   0    Yes. List each
        account separately.   Type of account:          Institution name:

                              401(k) or similar plan:

                              Pension plan:

                              IRA:

                              Retirement account:

                              Keogh:

                              Additional account:

                              Additional account:



22.Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

        No
   0    Yes                                         Institution name or individual:

                              Electric:

                              Gas:

                              Heating oil:

                              Security deposit on rental unit:

                              Prepaid rent:

                              Telephone:

                              Water:

                              Rented furniture:

                              Other:



23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   10 No

   CI   Yes                   Issuer name and description:




Official Form 106A/B                                             Schedule A/B: Property                                          page 6
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               First Name     Middle Name         Last Name
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
     26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   10 No
   O Yes                             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
    exercisable for your benefit

   10 No
   O Yes. Give specific
     information about them....


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   el No
   CI   Yes. Give specific
        information about them....


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   RI No
   CI   Yes. Give specific
        information about them....


Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
   RI No
   O Yes. Give specific information
                                                                                                                Federal:
          about them, including whether
          you already filed the returns                                                                         State:
          and the tax years.
                                                                                                                Local:


29.Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
   CI   Yes. Give specific information
                                                                                                               Alimony:
                                                                                                               Maintenance:
                                                                                                               Support:
                                                                                                               Divorce settlement:
                                                                                                               Property settlement:

30.Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
             Social Security benefits; unpaid loans you made to someone else
   RI No
   O Yes. Give specific information




Official Form 106A/B                                          Schedule A/B: Property                                                                page 7
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  Debtor 1
                 First Name
                                         Document
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1 31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
     0    No
     O Yes. Name the insurance company            Company name:                                             Beneficiary:                                 Surrender or refund value:
            of each policy and list its value....




  32. Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
      property because someone has died.
     O No
     O Yes. Give specific information



 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
     ha   No
     O Yes. Describe each claim.


 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
     to set off claims
     O No
     O Yes. Describe each claim.




 35. Any financial assets you did not already list

     O No
     ci Yes. Give specific information



 36.Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here                                                                                                     4



 Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.


 37.Do you own or have any legal or equitable interest in any business-related property?
     O No. Go to Part 6.
     O Yes. Go to line 38.

                                                                                                                                                    Current value of the
                                                                                                                                                    Portion you own?
                                                                                                                                                    Do not deduct secured claims 1
                                                                                                                                                    or exemptions.

 38. Accounts receivable or commissions you already earned
     O No
     O Yes. Describe
                                                                                                                                                    Js
 39. Office equipment, furnishings, and supplies
     Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
     O No
     CI   Yes. Describe




  Official Form 106A/B                                            Schedule A/B: Property                                                                            page 8
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Debtor 1
                First Name    Middle Name        Last Name
                                                             Document                 17number (if known)20-62169—IRC
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40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   Rif No
   O Yes. Describe



41. Inventory
     lir No
   O Yes. Describe



42.Interests in partnerships or joint ventures
   1E1 No
   O Yes. Describe           Name of entity:                                                            % of ownership:




43. Customer lists, mailing lists, or other compilations
    2 No
   U Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
            O No
            O Yes. Describe.



44. Any business-related property you did not already list
    2 No
   •   Yes. Give specific
       information




45.Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
   for Part 5. Write that number here




            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   Ef No. Go to Part 7.
   D  Yes. Go to line 47.

                                                                                                                          Currentt value of the
                                                                                                                          v       you own?
                                                                                                                          Do not deduct secured claims
                                                                                                                          or exemptions.
47.Farm animals
   Examples: Livestock, poultry, farm-raised fish
   la No
   O Yes




Official Form 106A/B                                         Schedule A/B: Property                                                    page 9
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48. Crops—either growing or harvested
   0 No
   O Yes. Give specific
     information

49.Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
   0 No
   CI Yes



50.Farm and fishing supplies, chemicals, and feed
   101 No
   CI Yes



51. Any farm- and commercial fishing-related property you did not already list
   O No
   CI Yes. Give specific
      information

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
    for Part 6. Write that number here                                                                                    4


17:11       Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

   0 No
   O Yes. Give specific
     information




54. Add the dollar value of all of your entries from Part 7. Write that number here



Part 8:     List the Totals of Each Part of this Form

55.Part 1: Total real estate, line 2                                                                                             0.00

56.Part 2: Total vehicles, line 5                                                       0.00

57.Part 3: Total personal and household items, line 15                                230.00

58.Part 4: Total financial assets, line 36                                              0.00

59.Part 5: Total business-related property, line 45                                     0.00

60.Part 6: Total farm- and fishing-related property, line 52                            0.00

61.Part 7: Total other property not listed, line 54                                     0.00

62.Total personal property. Add lines 56 through 61.                                  230.00   Copy personal property total



63.Total of all property on Schedule A/B. Add line 55 + line 62                                                                 230.00



 Official Form 106A/B                                      Schedule A/B: Property                                             page 10
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   Fill in this information to identify your case:

   Debtor 1         CYNTHIA ANDERSON-GRAYSON
                       First Name            Middle Name                  Last Name                      Check if this is:
   Debtor 2
   (Spouse, if filing) First Name            Middle Name                  Last Name
                                                                                                         U An amended filing
                                                                                                         U A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: Northern District of Georgia                                      expenses as of the following date:
   Case number        20-62169                                                                               MM / DD / YYYY
    (If known)




  Official Form 106J
 Schedule J: Your Expenses                                                                                                                               12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

    El No. Go to line 2.
    0 Yes. Does Debtor 2 live in a separate household?
                 Li No
                 0 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                 ad No
                                                                                      Dependent's relationship to              Dependent's     Does dependent live
    Do not list Debtor 1 and               CI   Yes. Fill out this information for    Debtor 1 or Debtor 2                     age             with you?
    Debtor 2.                                   each dependent
                                                                                                                                               O No
    Do not state the dependents'
    names.                                                                                                                                     O Yes
                                                                                                                                               O No
                                                                                                                                               O Yes
                                                                                                                                               O No
                                                                                                                                               O Yes
                                                                                                                                               • No
                                                                                                                                               O Yes
                                                                                                                                               O No
                                                                                                                                               O Yes

i 3. Do your expenses include
      expenses of people other than
                                            d No
     ,marself and your dependents?              Yes


 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expgnses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                               our expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                     0.00
     any rent for the ground or lot.                                                                                     4.

      If not included in line 4:
      4a. Real estate taxes                                                                                              4a.     $                   0.00

      4b. Property, homeowner's, or renter's insurance                                                                   4b.     $                   0.00

      4c. Home maintenance, repair, and upkeep expenses                                                                  4c.     $                   0.00
      4d. Homeowner's association or condominium dues                                                                    4d.     $                   0.00


Official Form 106J                                             Schedule J: Your Expenses                                                             page 1
               Case 20-62169-lrc               Doc 44           Filed 05/19/20 Entered 05/19/20 15:25:02                              Desc Main
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  Debtor 1         CYNTHIA ANDERSON-GRAYSON                                                Case number Of known)   20-62169
                   First Name    Middle Name       Last Name




                                                                                                                                 Your expenses

                                                                                                                                                   0.00
   5. Additional mortgage payments for your residence, such as home equity loans                                   5.

   6. Utilities:
        6a. Electricity, heat, natural gas                                                                         6a.                           185.00
        6b. Water, sewer, garbage collection                                                                       6b.       $                   160.00
        6c. Telephone, cell phone, Internet, satellite, and cable services                                         6c.       $                     0.00
        6d. Other. Specify:                                                                                        6d.       $                     0.00
  7. Food and housekeeping supplies                                                                                7.        $                   300.00
  8. Childcare and children's education costs                                                                      8.        $                     0.00
  9. Clothing, laundry, and dry cleaning                                                                           9.        $                     0.00
 10. Personal care products and services                                                                           10.       $                    25.00
. 11.   Medical and dental expenses                                                                                11.       $                   360.00
 12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                                   0.00
     Do not include car payments.                                                                                  12.

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.       $                     0.00
 14. Charitable contributions and religious donations                                                              14.       $                     0.00
 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                        15a.      $                     0.00
        15b. Health insurance                                                                                      15b. $                          0.00
        15c. Vehicle insurance                                                                                     15c.      $                     0.00
        15d. Other insurance. Specify:                                                                             15d.      $                     0.00

16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify:                                                                                                   16.
                                                                                                                                                   0.00

17. Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                            17a.                            0.00
        417b. Car payments for Vehicle 2                                                                           17b.                            0.00
        17c. Other. Specify:                                                                                       17c.                            0.00
        17d. Other. Specify:                                                                                       17d.                            0.00

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                               18                             0.00
                                                                                                                         '   $

!19. Other payments you make to support others who do not live with you.
        Specify:                                                                                                    19.      $                     0.00
!20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule!: Your Income.

        20a. Mortgages on other property                                                                           20a.      $                     0.00
        20b. Real estate taxes                                                                                     20b.      $                     0.00
        20c. Property, homeowner's, or renter's insurance                                                          20c.      $                     0.00
        20d. Maintenance, repair, and upkeep expenses                                                              20d.      $                     0.00
        20e. Homeowner's association or condominium dues                                                           20e.      $                     0.00


Official Form 106J                                             Schedule J: Your Expenses                                                           page 2
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 Debtor 1      CYNTHIA ANDERSON-GRAYSON                                                     Case number (if known)   20-62169
                First Name    Middle Name        Last Name




21. Other. Specify:


22. Calculate your monthly expenses.

     22a. Add lines 4 through 21.                                                                                22a.               3,730.00
     22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                  0.00
     22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.               3,730.00


23. Calculate your monthly net income.
                                                                                                                                       0.00
   23a. Copy line 12 (your combined monthly income) from Schedule I.                                             23a.

   23b. Copy your monthly expenses from line 22c above.                                                          23b.     $         3,730.00

   23c.     Subtract your monthly expenses from your monthly income.
                                                                                                                                    3,730.00
            The result is your monthly net income.                                                               23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

   10 No.
   0   Yes.       Explain here:




Official Form 106J                                           Schedule J: Your Expenses                                                 page 3
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 Fill in this information to identify your case:


 Debtor 1               -t/Skri
                       Firt Name
                                           er:w
                                              Middle Name           Last Name

 Debtor 2
 (Spouse, if filing)   First Name             Middle Name           Last Name


 United States Bankruptcy Court for the:   Ai teld/DiStriot   of    e00         -


 Case number                        -(7/K L/er_                                                                                    IA Check if this is an
                       (If known)
                                                                                                                                      amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:         Summarize Your Assets


                                                                                                                                Your assets
                                                                                                                                Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
   la. Copy line 55, Total real estate, from Schedule A/B                                                                           $
    lb. Copy line 62, Total personal property, from Schedule A/B


    lc. Copy line 63, Total of all property on Schedule A/B
                                                                                                                                    $



MCI             Summarize Your Liabilities



                                                                                                                                Your liabilities
                                                                                                                                Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
   2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                              f,00
   3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

    3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F
                                                                                                                                + $



                                                                                                       Your total liabilities



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                            a• f2)
   Copy your combined monthly income from line 12 of Schedule I

5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J                                                                           $         W.0


Official Form 106Sum                         Summary of Your Assets and Liabilities and Certain Statistical Information                 page 1 of 2
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                                •

   Debtor 1             ' 1//// 9 -
                 Fir Name
                                        /42(
                                    Middle Name
                                                  34    612
                                                              4
                                                          Last Name
                                                                         /
                                                                             So)/
                                                                                                 Case number (if known)          g-             Zoier
    Part 4:    Answer These Questions for Administrative and Statistical Records


    6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

       0 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
      ,JJ Yes

    7. What kind of debt do you have?

       1:1 Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
          this form to the court with your other schedules.



    8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.-                                                          $




      Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                         Total claim


        From Part 4 on Schedule E/F, copy the following:


       9a. Domestic support obligations (Copy line 6a.)


       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)


       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)


       9d. Student loans. (Copy line 6f.)


       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)


       9g. Total. Add lines 9a through 9f.                                                               $        (5, ibriri.)




Official Form 106Sum    Summary of Your Assets and Liabilities and Certain Statistical Information                                         page 2 of 2
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                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                      47t411,17f    DIVISION



  IN RE: 6 1,   /2167 74 / 6(geV                )      Case No:
                                                )
                rotgo-4                         )      Chapter
                                                )
                                                )
                Debtor(s)

                                          CERTIFICATE OF SERVICE


     I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter mentioned,
  was more than 18 year of age, and that on the ( 7 day of                        , 20 , I served a copy of the
  AMENDMENT which was filed in this bankruptcy matter on the              éay of              , 20_.

  Mode of service (check one):             'MAILED                            HAND DELIVERED

 Name and Address of each party served (If necessary, you may attach a list.):

                                          05 itg412/1 7. 76/5 /71(
                                                                 .44w4/              rio         / 14e7a,,e_ ,41A    1,611_0;
  Trustee                        Creditor
#ty_S F/14217 enti(24.9a4d),-A-e                                                      / 111 ,/ 471 ee_ de 4epi „42,
  Address                                              fr
                                       A e7117/74-i4        eVi    952,e,            be (76214
                                                                                     e                  goe S
 jm 94PeetA4
"47%0 f1er • g e.0-5/41-- 9,1,'


 I CERTIFY UNDER PENALTY OF PERJURY THATJUØbR1COING IS                                       UE AND CORRECT.

 Dated:   AY/
           /
              7       `2-07-"e         Signature:                                                            "31 -
                                                                                          1C-7
                                       Printed Name:
                                                                  (X0 gr--4--yr-'dx-7 (
                                       Address:
                                                                            •_?, ?"/0,V672.1LeaWAM-V
                                                                      e'c't.A-V- 49 3o o 3 2-

                                       Phone:
